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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
  FMIO, INC. a Michigan corporation and
  RICHARD A. GARST,
              Plaintiffs,                                File No: 2:09-cv-12561
  v

  TOWNSHIP OF SUMMERFIELD MICHIGAN, a                    Hon. BERNARD A. FRIEDMAN
  Michigan municipal corporation, KEVIN R. IOTT in
  his official and individual capacities, TAMMY          AN S W E R , AF F I R M AT I V E
  BLEASKA in her official and individual capacities,     DEFENSES AND RELIANCE ON
  JOAN WIEDERHOLD, in her official and individual        JURY DEMAND
  capacities, DALE WAGENKNECHT in his official
  and individual capacities JAMES V. SEEGER, in his
  official and individual capacities, AMY REITER, in
  her official and individual capacities, RICHARD
  KORALESKI in his official and individual capacities,
  DAVID GRUDE, in his official and individual
  capacities, JOSEPH STRANGER in his official and
  individual capacities, LINDA DIESING in her official
  and individual capacities MICHAEL STRAHAN in his
  official and individual capacities, jointly and
  severally,
                 Defendants
  Cindy Rhodes Victor (P33613)
  The Victor Firm, PLLC
  Attorney for Plaintiffs
  35801 Mound Road
  Sterling Heights, MI 48310
  Telephone: 586-274-9600

  Frederick Lucas (P29074)
  Lucas Law, PC
  Attorney for Defendants
  7577 US 12, Ste A
  Onsted, MI 49265
  Telephone: 517-467-4000
  Fax: 517-467-4044

                                          ANSWER

          Defendants, by their attorneys, Lucas Law, PC, answer the complaint of plaintiffs,

  FMIO, Inc and Richard A. Garst as follows:

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                                      JURISDICTION

          1.      Deny the allegations in paragraph 1 through 1©.

          2.      Admit the allegations in paragraph 2.

          3.      Admit the allegations in paragraph 3.

                                       THE PARTIES

          4-6     Admit the allegations in paragraphs 4 through 6.

          7       Admit that defendant Iott is the Supervisor of Summerfield Township and

                  a resident of Monroe County, Michigan but neither admit nor deny that he

                  is a policy making official.

          8       Admit that defendant Bleashka is the Clerk of Summerfield Township and

                  a resident of Monroe County, Michigan but neither admit nor deny that

                  she is a policy making official.

          9       Admit that defendant Wiederhold is the Treasurer of Summerfield

                  Township and a resident of Monroe County, Michigan but neither admit

                  nor deny that she is a policy making official.

          10      Admit that defendant Seegert is Trustee of Summerfield Township and

                  a resident of Monroe County, Michigan but neither admit nor deny that he

                  is a policy making official.

          11      Admit that defendant Reiter is the Chairperson of both the Summerfield

                  Township Planning Commission and the Zoning Board of Appeals and is

                  a resident of Monroe County, Michigan but neither admit nor deny that

                  she is a policy making official.

          12      Admit that defendant Koraleski is a member of the Summerfield

                  Township Planning Commission and a resident of Monroe County,

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                  Michigan but neither admit nor deny that he is a policy making official.

          13      Admit that defendant Grude is a member of the Summerfield Township

                  Planning Commission and a resident of Monroe County, Michigan but

                  neither admit nor deny that he is a policy making official.

          14      Admit that defendant Stanger is a member of the Summerfield Township

                  Planning Commission and a resident of Monroe County, Michigan but

                  neither admit nor deny that he is a policy making official.

          15      Admit that defendant Diesing is a member of the Summerfield Township

                  Zoning Board of Appeals and a resident of Monroe County, Michigan but

                  neither admit nor deny that she is a policy making official.

          16      Deny that defendant Mark Strahan (misidentified as Michael Strahan) is

                  a member of the Summerfield Township Zoning Board of Appeals or that

                  he is a policy making official but admit he is a resident of Monroe County,

                  Michigan.

                                FACTUAL ALLEGATIONS

          17      Admit the allegations in paragraph 17.

          18      Admit the allegations in paragraph18 as the property is zoned C1 local

                  commercial.

          19      Neither admit nor deny for the reason that defendant is without sufficient

                  information or belief as to the truth of the allegations contained in

                  paragraph 19.

          20      Neither admit nor deny for the reason that defendant is without sufficient

                  information or belief as to the truth of the allegations contained in

                  paragraph 20.

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          21      Neither admit nor deny for the reason that defendant is without sufficient

                  information or belief as to the truth of the allegations contained in

                  paragraph 21.

          22-24   Admit the allegations in paragraphs 22 through 24.

          25      Neither admit nor deny the allegations in paragraph 25 for the reason that

                  defendants are without knowledge of the date or specifics relating to the

                  confiscation of the computer.

          26      Admit that Nick Lucas was the Fire Chief from 1996 to March 2002 and

                  that he is the son of Zelda Lucas. If the time period referred to in

                  paragraph 26 falls within these dates then it is admitted as true.

          27      Admit the allegations in paragraph 27.

          28      Neither admit nor deny for the reason that defendant is without sufficient

                  information or belief as to the truth of the allegations contained in

                  paragraph 28.

          29      There are two paragraphs numbered as 29. Defendants neither admit nor

                  deny the allegations contained in both paragraphs numbered 29 for the

                  reason that defendant is without sufficient information or belief as to the

                  truth of the allegations.

          30      Admit that the language of some of the recall petitions were approved but

                  neither admit nor deny the remaining allegations in paragraph 30 for the

                  reason that defendant is without sufficient information or belief as to the

                  truth of the remaining allegations.

          31      Admit the allegations in paragraph 31.

          32      Neither admit nor deny for the reason that defendant is without sufficient

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                  information or belief as to the truth of the allegations contained in

                  paragraph 32.

          33      Deny for the reason that Garst did mention LaRocca by name.

          34      Deny the allegations in paragraph 34.

          35-39   Admit the allegations in paragraph 35 through 39.

          40      Admit that a lease was entered into on May 7, 2008 not May 4, 2008 as

                  alleged in paragraph 40.

          41-43   Deny the allegations in paragraphs 41 through 43.

          44      Admit that Zelda Lucas got a personal protection order against Garst but

                  deny the remaining allegations

          45-48   Neither admit nor deny for the reason that defendant is without sufficient

                  information or belief as to the truth of the allegations contained in

                  paragraphs 45 through 48.

          49      Neither admit nor deny for the reason that defendant is without sufficient

                  information or belief as to the truth of the allegations contained in

                  paragraph 49 but for further answer deny that the minutes are incorrect

                  or that it has been an ongoing issue with the minutes.

          50      Deny the allegations in paragraph 50.

          51      Admit the allegations in paragraph 51.

          52-53   Neither admit nor deny for the reason that defendant is without sufficient

                  information or belief as to the truth of the allegations contained in

                  paragraphs 52 and 53.

          54      Deny the allegations in paragraph 54 for the reason that the Township

                  never received the packet.

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          55      Neither admit nor deny for the reason that defendant is without sufficient

                  information or belief as to the truth of the allegations contained in

                  paragraph 55.

          56      Deny the allegations in paragraph 56 for the reason that Reiter never

                  received an application from Garst and Reiter advised Garst of that fact

                  on at least one occasion.

          57      Deny for the reason that the township never received his application.

          58      Admit that a certified check was made payable to Summerfield Township

                  on November 13, 2006.

          59      Deny for the reason that no application was ever submitted that could be

                  misplaced.

          60      Deny the allegations in paragraph 60.

          61      Deny the allegations in paragraph 61.

          62      Admit that defendant Iott told Garst he had to submit the plans and check

                  but deny that Iott told Garst that this would be a re-submission since

                  Garst had never submitted the plans in the first instance.

          63      Deny the allegations in paragraph 63.

          64      Neither admit nor deny for the reason that defendant is without sufficient

                  information or belief as to the truth of the allegations contained in

                  paragraph 64.

          65-66   Deny the allegations in paragraphs 65 through 66.

          67-69   Admit the allegations in paragraphs 67 through 69.

          70      Admit that there was no written complaint and no notice was posted but

                  for further answer state that the ordinance does not require a written

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                  complaint.

          71      Admit the allegations in paragraph 71.

          72      Admit the allegations in paragraph 72 but for further answer state that

                  Garst was given time to address the Township Board regarding the

                  dangerous building violation.

          73      Admit that Garst asked about the FMIO site plan review application and

                  Garst was told that the issue of his purposed application was not on the

                  agenda.

          74      Deny the allegations in paragraph 74.

          75      Admit that Garst made comments about a trucking business but neither

                  admit nor deny the remaining allegations contained in paragraph 75.

          76      Admit that Garst made such allegations at the meeting but deny the truth

                  of the allegations.

          77      Deny the allegations in paragraph 77 as untrue.

          78      Deny the allegations in paragraph 78.

          79      Deny for the reason that not all the persons listed were present.

          80      Deny the allegations in paragraph 80.

          81-83   Admit the allegations in paragraphs 81 through 83.

          84      Admit that those present left plaintiff’s property but deny the remaining

                  allegations.

          85      Admit that Garst’s property is the first property that enforcement actions

                  have been taken against under the dangerous building ordinance for the

                  reason that the dangerous building ordinance has only recently been

                  adopted.

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          86       Admit a meeting was held on April 29, 2009 to discuss various issues.

          87       Admit the allegations in paragraph 87.

          88       Admit that no notice of a special township meeting was posted for the

                   reason that there was no special meeting of the township board.

          89       Admit that a memo was drafted to Garst to determine whether there was

                   any interest in negotiating a settlement of the various claims of the parties

                   including the site plan and dangerous building matters. This was nothing

                   more than an effort to determine if a negotiated settlement would be

                   possible and was not an official act of the Township nor were terms

                   contained therein binding on the Township.

          90-99    Admit the allegations in paragraphs 90 through 99.

          100-104 Deny the allegations in paragraphs 100 through 104.

          105      Neither admit nor deny as paragraph 105 is not an allegation of fact but

                   a statement of law.

          106-109 Deny the allegations in paragraphs 106-109.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.

                                        COUNT I
                               Claims Under 42 U.S.C. §1983

          110      Incorporate by reference paragraphs 1 through 109.

          111-120 Deny the allegations in paragraphs 111 through 120.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.




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                                        COUNT II
                             Violation of 42 U.S.C. §1985(3)

          121      Incorporate by reference paragraphs 1 through 121.

          122-126 Deny the allegations in paragraphs 122 through 126.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.

                                       COUNT III
                              Violation of 42 U.S.C. §1986

          127      Incorporate by reference paragraphs 1 through 126.

          128-131 Deny the allegations in paragraphs 128 through 131.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.

                                       COUNT IV
                                 Superintending Control

          132      Incorporate by reference paragraphs 1 through 131.

          133-136 Deny the allegations in paragraphs 133 through 136.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.

                                        COUNT V
                    Violation of Michigan Freedom of Information Act
                                    MCL 15.231 et seq.

          137      Incorporate by reference paragraphs 1 through 136.

          138-142 Deny the allegations in paragraphs 138 through 142.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.




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                                        COUNT VI
                      Violation of the Michigan Open Meetings Act
                                    MCL 15.261 et seq.

          143      Incorporate by reference paragraphs 1 through 142.

          144-147 Deny the allegations in paragraphs 144 through 147.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.

                                       COUNT VII
                        Violation of Michigan Right To Farm Act
                                  MCL 286.741 et seq.

          148      Incorporate by reference paragraphs 1 through 147.

          149-155 Deny the allegations in paragraphs 149 through 155 as miss numbered

                   allegations 150 through 155.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.

                                       COUNT VIII
                                       Defamation

          156      Incorporate by reference paragraphs 1 through 155.

          157-162 Deny the allegations in paragraphs 157 through 162.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.

                                 AFFIRMATIVE DEFENSES

          Defendants by their attorneys, Lucas Law, PC, state the following affirmative

  defenses to the complaint:

          1.       The complaint in the above captioned cause fails to state a claim upon

  which relief can be granted.


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          2.        The claims of plaintiffs are barred by the applicable statute of limitations,

  by the equitable doctrine of laches and unclean hands.

          3.        The claims of plaintiffs against defendants, are barred by the doctrine of

  governmental immunity. MCL 691.1401 et seq., MSA 3.996 (101) et seq.

          4.        Plaintiffs have failed to exhaust all administrative remedies and hence the

  claims set forth in the complaint are not ripe.

          5.        Some or all of the damages claimed by plaintiffs are not recoverable

  under applicable law.

          6.        Plaintiffs failed to mitigate damages.

          WHEREFORE, defendants, pray this court dismiss the complaint and award them

  costs and attorney fees.

                                RELIANCE ON JURY DEMAND

          Defendants, demand a trial by jury in the above captioned matter and rely upon the

  jury fee previously paid by plaintiffs

  Dated: July 30, 2009                                s/Frederick Lucas
                                                      Frederick Lucas (P29074)
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                                                      Telephone: 517-467-4000
                                                      Primary E-mail: lucas@lucaslawpc.com
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 30, 2009, I electronically filed the foregoing paper with

  the Clerk of the Court using the ECF system which will send notification of such filing to the

  following: Cindy Victor.


                                                      s/Frederick Lucas
                                                      Frederick Lucas (P29074)
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